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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                      JACKSONVILLE DIVISION


    UNITED STATES OF AMERICA

    v.                                                              Case No. 3:19-cr-72-J-34MCR

    LARRY BOUKNIGHT
         a/k/a “Rico”



                                                 ORDER

            THIS CAUSE is before the Court on Defendant Larry Bouknight’s Motion to

    Suppress Historically Stored Data (Doc. 25; Motion to Suppress), filed on October 17,

    2019.       The government filed a response in opposition to the Motion to Suppress on

    November 4, 2019.           See United States Response to Larry Bouknight’s Motion to

    Suppress Historically Stored Data (Doc. 31; Response to Motion to Suppress).                  The

    undersigned referred the Motion to Suppress to the Honorable Monte C. Richardson,

    United States Magistrate Judge, to recommend an appropriate resolution. On November

    13, 2019, the Magistrate Judge heard argument on the Motion to Suppress. 1                    See

    Transcript of Motion Hearing (Doc. 36; Motion Hr’g Tr.). Thereafter, on November 27,

    2019, the Magistrate Judge entered a Report & Recommendation (Doc. 39; Report)

    recommending that Defendant’s Motion to Suppress be denied.                    See Report.     On

    December 6, 2019, Defendant filed objections to the Report. See Defendant’s Objections

    to Magistrate Judge’s Report and Recommendation to Deny Defendant’s Motion to

    Suppress Historically Stored Data (Doc. 40; Objections).



            1   The parties did not present evidence at the motion hearing before the Magistrate Judge.
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           After reviewing the Objections, the Court directed the government to file a response

    to the Objections that specifically addressed Defendant’s “argument that the search of the

    historically stored cell phone data for September 1, 2018, through September 7, 2018,

    exceeded the scope of the warrant, which authorized the release of data only for

    September 6, 2018—the date of the victim’s death.” See Order (Doc. 41) at 1. The Court

    also directed the government “to advise the Court as to whether a supplemental hearing

    was necessary to resolve the Motion to Suppress as to that issue.” Id. In response, the

    government requested “that a hearing be set in this matter at which time the affiant will

    provide testimony related to the issue before the Court.” See United States’ Response to

    Defendant’s Objection to Report and Recommendation (Doc. 42; Response to

    Objections), filed on January 14, 2020. Thus, on February 5, 2020, the Court held an

    evidentiary hearing to address the issue of whether the search exceeded the scope of the

    warrant.   See Minute Entry (Doc. 48); Evidentiary Hearing Transcripts (Doc. 54;

    Evidentiary Hr’g Tr.). Accordingly, this matter is ripe for review.

    I.     Standard of Review

           The Court reviews a magistrate judge’s report and recommendation in accordance

    with the requirements of Rule 59, Federal Rules of Criminal Procedure (Rule(s)) and 28

    U.S.C. § 636(b)(1). The Court “may accept, reject or modify, in whole or in part, the

    findings of the recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1);

    see also Rule 59(b)(3).      “[I]n determining whether to accept, reject, or modify the

    magistrate’s report and recommendations, the district court has the duty to conduct a

    careful and complete review.” Williams v. Wainwright, 681 F.2d 732, 732 (11th Cir. 1982




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    (quoting Nettles v. Wainright, 677 F.2d 404, 408 (5th Cir. Unit B 1982)).2 Additionally,

    pursuant to Rule 59 and § 636(b)(1), where a party timely objects to the magistrate judge’s

    report and recommendation, “[a] judge of the [district] court shall make a de novo

    determination of those portions of the report or specified proposed findings or

    recommendations to which objection is made.” 28 U.S.C. § 636(b)(1); see also Rule

    59(b)(3); Thomas v. Arn, 474 U.S. 140, 149-50 (1985). Nevertheless, while de novo

    review of a magistrate judge’s recommendation is required only where an objection is

    made, the Court always retains the authority to review such a recommendation in the

    exercise of its discretion. See Rule 59 advisory committee notes (2005) (citing Thomas,

    474 U.S. at 154; Matthews v. Weber, 423 U.S. 261, 270-71 (1976)).

    II.    Background

           In the Indictment (Doc. 1), the United States alleges that Haley Bishop died on

    September 6, 2018, as a result of using a substance containing fentanyl, “a Schedule II

    controlled substance distributed by the Defendant.” See Indictment at 1. On September

    22, 2018, as part of the investigation into Bishop’s death, Sergeant M. Dowling (the

    Applicant Officer) of the Jacksonville Sheriff’s Office (JSO) applied for a state search

    warrant to obtain cell phone data for the period from September 1, 2018, through




           2  In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981), the Eleventh Circuit
    adopted as binding precedent decisions of the former Fifth Circuit (including Unit A panel
    discussions of that circuit) handed down prior to October 1, 1981. W.R. Huff Asset Mgmt. Co.,
    L.L.C. v. Kohlberg, Kravis, Roberts & Co., L.P., 566 F.3d 979, 985 n.6 (11th Cir. 2009). After
    October 1, 1981, “only decisions of the continuing Fifth Circuit’s Administrative Unit B are binding
    on this circuit. . . .” Dresdner Bank AG v. M/V Olympia Voyager, 446 F.3d 1377, 1381 n. 1 (11th
    Cir. 2006). The Court notes that the Fifth Circuit overruled Nettles, in part, on other grounds, in
    Douglass v. United Services Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).
    However, “that does not change the binding effect of Nettles in this Circuit because Douglass was
    decided after October 1, 1981 and was not a Unit B decision.” United States v. Schultz, 565 F.3d
    1353, 1360 n.4 (11th Cir. 2009).




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    September 7, 2018, for phone number (904) 483-0628, which the Applicant Officer

    believed to be associated with Defendant. In doing so, the Applicant Officer prepared an

    affidavit in support of the request for the search warrant and submitted it to a state court

    judge. See Affidavit for Search Warrant (Doc. 25-1; Bouknight Affidavit) at 2-4.3 In the

    Bouknight Affidavit, the Applicant Officer states, in relevant part:

                  Affiant has reason to believe and does believe that this certain
                  Target Telephone located in Duval County Florida described
                  as follows to-wit:

                        The Historically Stored Data for (904) 483-0628 to
                        obtain     incoming/outgoing      call    records,
                        incoming/outgoing text messages, and historical
                        cell site data within the automated files of the
                        common telephone carrier (T-Mobile) for the dates
                        of September 1, 2018 to September 7, 2018.

                  Herein after referred to as the “Target data” was the product of
                  the use of Larry Bouknight II for the purpose of violating the
                  laws of Florida, relating to felony crime(s), to wit, Homicide and
                  Possession of a Controlled Substance (Heroin/Fentanyl), in
                  violation of Chapter 782.04 & 893.13, Florida Statutes[.]

                  ...

                  Probable Cause:

                  Below are details of a homicide narcotic related death that
                  occurred at 3534 Smithfield Street #1506, Jacksonville, Duval
                  County, Florida 32217. The incident occurred as follows:

                  On September 6, 2018, the victim was found unresponsive in
                  her apartment located at 3534 Smithfield Street #1506,
                  Jacksonville, Florida 32217. The victim was transported to
                  Memorial Hospital where she was pronounced deceased at
                  1806 hours. Upon identifying the victim as Haley Bishop, it
                  was learned that Bishop had bought and used heroin earlier in
                  the day at 1762 Sheridan St.



           3 When he completed the Bouknight Affidavit, the Applicant Officer was a detective in the
    homeland security narcotics division of JSO. See Evidentiary Hr’g Tr. at 8. He became a
    sergeant in April 2019. Id.




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                   The investigation revealed that Bishop met an unknown male,
                   later identified as Larry Bouknight II, at the store located at
                   1762 Sheridan St. and purchased $40 worth of heroin on
                   September 6, 2018. Kristen Graham arranged the drug
                   transaction for Bishop with Bouknight via cell phone and was
                   with Bishop when she purchased the drugs from Bouknight on
                   the day of her death. Graham showed your affiant text
                   messages arranging the drug transaction with the defendant.
                   There were no apparent signs of foul play but Bishop is a
                   known narcotic abuser. Bishop’s body was turned over to the
                   Duval County Medical Examiner Office to determine [the]
                   cause of [her] death.

                   Investigative Need for Court Approval:

                   Your Affiant believes that the forensic search of the Target
                   Telephone automated records will aide [sic] law enforcement
                   in identifying if Bouknight met with Graham and Bishop and
                   sold Bishop drugs that could have taken her life. Additionally,
                   the search of Graham’s [sic] toll and cell site data could put
                   Bouknight, Graham, and Bishop together just hours before
                   Bishop’s death. That would lead to possible charges being
                   brought against Bouknight.

    Id. at 2-3 (bold in original).

            Based upon the Bouknight Affidavit, the judge found probable cause to issue the

    requested search warrant, which she signed and issued that same day. See Search

    Warrant (Doc. 25-1; Bouknight Warrant) at 1. The Bouknight Warrant provides in relevant

    part:

                   WHEREAS, complaint on oath and in writing, supported by
                   affidavit, having been made this day before the undersigned
                   Judge of the Fourth Judicial Circuit, in and for Duval County,
                   Florida;

                   AND WHEREAS, said facts made known to me have caused
                   me to certify and find that there is a probable cause to believe
                   that historically stored incoming and outgoing calls, and
                   historical cell site data is being kept within the files of the
                   common telephone carrier(s) described as follows:

                        The Historically Stored data for (904) 483-0628 to
                        obtain    incoming/outgoing       call    records,




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                      incoming/outgoing text messages, and historical
                      cell site data within the automated files of the
                      common telephone carrier (T-Mobile) for the dates
                      of September 1, 2018 to September 7, 2018.

                 Herein after referred to as the “Historically Stored Data[”] within
                 the files of (T-Mobile). The stored data believed to be the
                 product of telephonic usage of Larry Bouknight II known for the
                 purpose of violating the laws of Florida, and concealing the
                 evidence relating to felony crime(s), to wit, Possession of a
                 Controlled Substance (Heroin/Fentanyl) [in violation] of
                 Chapter 893.13, Florida Statutes;

                 AND WHEREAS the facts establishing the grounds for this
                 application are set forth in the affidavit of Sergeant J.M.
                 Dowling of the Jacksonville Sheriff’s Office- Narcotics
                 Division;

                 NOW THEREFORE, T-Mobile is ordered to release [t]he
                 Historically Stored Data for (904) 483-0628 to obtain
                 incoming/outgoing call records, incoming/outgoing text
                 messages, and historical cell site data within the automated
                 files of the common telephone carrier (T-Mobile) for September
                 6, 2018.

    Id. (bold in original; underlining added).    With the Bouknight Warrant in hand, law

    enforcement requested data for telephone number (904) 483-0628 from September 1,

    2018, through September 7, 2018, and T-Mobile produced that data. See Evidentiary

    Hr’g Tr. at 19; Minute Entry, Defendant’s Supplemental Exhibit 1: JSO Preservation of

    Records Form (Doc. 48-3; Preservation Request); Records Custodian Certification (Doc.

    25-2); CD containing excel spreadsheet (Doc. 25-3); Interpretation of Records (Doc. 25-

    4).

          In his Motion to Suppress, Defendant argues that the Bouknight Affidavit failed to

    establish probable cause to support the issuance of the Bouknight Warrant.           See

    generally Motion to Suppress. Specifically, Defendant asserts that the Bouknight Affidavit

    was deficient for the following reasons:




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                  a. [The Bouknight Affidavit failed] to explain how phone
                     number (904) 483-0628 is associated with Mr. Bouknight,
                     or how he connected that phone number to Mr. Bouknight
                     between September 1, 2018 and September 7, 2018.

                  b. [The Bouknight Affidavit] failed to explain the phone
                     numbers used for the text messages arranging the alleged
                     drug transaction. It fails to provide any details regarding
                     the text messages, only making conclusory statements that
                     the text messages were indicative of a drug transaction.

                  c. Under “Investigative Need for Court Approval,” the affidavit
                     discusses “the forensic search of the Target Telephone
                     automated records . . . .” First, “Target Telephone” is
                     never defined in the affidavit. Second, the language
                     clearly indicates an intent to conduct a forensic search of
                     an actual phone (hardware) vice obtain records from a
                     common carrier.

                  d. Also under “Investigative Need for Court Approval,” the
                     affidavit indicates that he is seeking a “search of Graham’s
                     toll and cell site data . . . .” But previously in the affidavit,
                     the officer states the data “was the product of the use of
                     Larry Bouknight II . . . .”

    Motion to Suppress at 4-5.        Defendant argues that because of these “substantial

    shortcomings and inconsistencies in the affidavit, there was no substantial basis for the

    issuing judge to conclude that probable cause existed under the totality of the

    circumstances to issue a warrant for the Historically Stored Data for phone number (904)

    483-0628.” Id. at 5.

           Defendant also maintains that “the search warrant itself is defective.” Id. In doing

    so, Defendant argues that although the Bouknight Affidavit specifically sought data from

    September 1, 2018, through September 7, 2018, the Bouknight Warrant authorized only

    “the seizure of the Historically Stored Data for September 6, 2018 in its final line of text.”

    Id. Because of this defect, Defendant asserts that the Bouknight Warrant “is so facially

    defective that the executing officer could not reasonably presume it to be valid.” Id. at 7.




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    Notably, Defendant articulated this argument in a different way at the motion hearing

    before the Magistrate Judge, where Defendant stated that because the Bouknight Warrant

    directed T-Mobile to release data from only September 6, 2018, the search, which included

    data from September 1st through September 7th, “exceeded the warrant and therefore

    was unreasonable under the Fourth Amendment and should be suppressed.” See Motion

    Hr’g Tr. at 18; 24-30.

           In the Report, the Magistrate Judge opines that the Motion to Suppress should be

    denied. See generally Report. Specifically, the Magistrate Judge recommends that,

    “based on the totality of the circumstances, the information provided by Graham could be

    used to support the probable cause determination.” Id. at 17. Regarding Defendant’s

    argument that the Bouknight Affidavit failed to connect him to telephone number (904) 483-

    0628, the Magistrate Judge concludes that “the affidavit adequately defines the ‘Target

    Telephone’ as telephone number (904) 483-0628, which was connected to Defendant (and

    his use of the phone during the relevant period) through information provided by Graham

    and the text messages she shared with the investigators through which she arranged the

    drug transaction with Defendant.”         Id. at 15.    In addition, the Magistrate Judge

    recommends that “the affidavit is sufficiently clear that it sought the historically stored data

    for the phone from the mobile carrier rather than a physical search of the device.” Id. at

    17.   The Magistrate Judge also concludes that the Bouknight Affidavit’s reference to

    “Graham’s” data (rather than Defendant’s data) “was likely an oversight,” as “the affidavit

    was clear that ‘the ‘Target data’ was the product of the use of Larry Bouknight II.’” Id.

    (quoting Bouknight Affidavit at 2). Finally, as to Defendant’s argument that the search




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    exceeded the scope of the Bouknight Warrant, the Magistrate Judge recommends as

    follows:

                   [T]he only reference to September 6, 2018 (the date of the
                   victim’s death) in the ordered paragraph of the warrant is
                   apparently an oversight by the issuing state judge because
                   both the warrant and the affidavit clearly state that the
                   historically stored data should be provided for the period
                   September 1, 2018 to September 7, 2018. As the bolded
                   paragraphs in both the warrant and the affidavit provide that
                   the relevant period for the data is September 1, 2018 to
                   September 7, 2018, the Court is not convinced that the search
                   exceeded the scope of the warrant.

    Id. at 18.4

           In his Objections to the Report, Defendant largely reiterates the arguments raised

    in the Motion to Suppress—that the information in the Bouknight Affidavit was insufficient

    to establish probable cause for the Bouknight Warrant and that the scope of the search

    exceeded the Bouknight Warrant. The Court will address each issue in turn, starting with

    probable cause.

    III.   Discussion

           A.      Probable Cause

           The Fourth Amendment mandates that “no Warrants shall issue, but upon probable

    cause, supported by Oath or affirmation.”5 U.S. Const. amend. IV. “Probable cause to




           4  The Magistrate Judge also recommends that Defendant is not entitled to an evidentiary
    hearing under Franks v. Delaware, 438 U.S. 154 (1978). See Report at 14-15. Notably,
    Defendant clarified at the motion hearing before the Magistrate Judge that he was not attempting
    to challenge the veracity of the Bouknight Affidavit under Franks. See Motion Hr’g Tr. at 11.
    Thus, the Court need not address this issue further or adopt the recommendation regarding its
    resolution.
            5 In Carpenter v. United States, 138 S. Ct. 2206, 2221 (2018), the Supreme Court held that

    “[t]he Government’s acquisition of [ ] cell-site records was a search within the meaning of the Fourth
    Amendment,” id. at 2220, and that “the Government must generally obtain a warrant supported by
    probable cause before acquiring such records,” id. at 2221.




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     support a search warrant exists when the totality of the circumstances allows the

     conclusion that ‘there is a fair probability that contraband or evidence of a crime will be

     found in a particular place.’” United States v. Kapordelis, 569 F.3d 1291, 1310 (11th Cir.

     2009) (quoting Illinois v Gates, 462 U.S. 213, 238 (1983)), cert. denied, 130 S. Ct. 1315

     (2010). The Supreme Court has instructed that “probable cause is a fluid concept—

     turning on the assessment of probabilities in particular factual contexts—not readily, or

     even usefully, reduced to a neat set of legal rules.” Gates, 462 U.S. at 232.

            When determining whether a search warrant was supported by probable cause, the

     reviewing court’s inquiry is limited to whether the issuing judge “had a substantial basis for

     . . . conclude[ing] that probable cause existed.” See id. at 238-39 (internal citation and

     quotation marks omitted) (alteration in original). In making this inquiry, the reviewing court

     “must consider only that information brought to the attention of the issuing judge.” See

     United States v. Schulz, 486 F. App’x 838, 842 (11th Cir. 2012) (citing United States v.

     Lockett, 674 F.2d 843, 845 (11th Cir. 1982)).          Importantly, “[c]ourts reviewing the

     legitimacy of search warrants should not interpret supporting affidavits in a hypertechnical

     manner; rather, a realistic and commonsense approach should be employed so as to

     encourage recourse to the warrant process and to promote a high level of deference

     traditionally given to [judges] in their probable cause determinations.’” United States v.

     Hatcher, 300 F. App’x 659, 663 (11th Cir. 2008) (quoting United States v. Miller, 24 F.3d

     1357, 1361 (11th Cir. 1994)). Indeed, the issuing judge’s “determination of probable

     cause should be paid great deference by reviewing courts.” Gates, 462 U.S. at 236

     (internal quotation marks and citation omitted); see also United States v. Nixon, 918 F.2d

     895, 900 (11th Cir. 1990) (“We have also said that the practical nature of the magistrate[ ]




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     [judge’s] decision justifies ‘great deference’ upon review and calls for upholding the

     magistrate[ ] [judge’s] findings even in marginal or doubtful cases.”).

            Upon independent review of the Bouknight Affidavit and Warrant, the undersigned

     finds that the state court judge had a substantial basis to conclude that probable cause

     existed to issue the Bouknight Warrant. In the Bouknight Affidavit, the Applicant Officer

     averred that, through his investigation of Bishop’s death, he learned that Bishop purchased

     drugs on the day of her death and that she was a known drug-abuser. See Bouknight

     Affidavit at 3.   In addition, the Applicant Officer stated that a cooperating individual

     (Graham) showed him text messages that she (Graham) sent to Defendant to arrange a

     drug transaction between Bishop and Defendant on the day Bishop died.6 Id. Graham

     also told the Applicant Officer that she was with Bishop when Bishop purchased the drugs

     from Defendant. Id. Based on these text messages, the Applicant Officer believed that

     a search of Defendant’s telephone records and its cell-site location data would show that

     Defendant arranged to sell drugs to and was with Graham, and therefore with Bishop,

     hours before Bishop died.        Id.   This information was sufficient to establish a “fair

     probability” that evidence of a crime would be found in cell phone data associated with

     phone number (904) 483-0628.7


            6  In the Motion to Suppress, Defendant argues that the Bouknight Affidavit failed to
     establish probable cause because it did not “provide any details regarding the messages” between
     Graham and Defendant, “only making conclusory statements that the text messages were
     indicative of a drug transaction.” See Motion to Suppress at 4-5. The Court finds this argument
     unavailing. The Applicant Officer averred that he saw “Graham’s text messages arranging the
     drug transaction with the defendant.” See Bouknight Affidavit at 3. The Applicant Officer also
     stated that he had been employed with JSO for over five years and had received “specialized
     narcotics training.” Id. at 2. Thus, it was reasonable for the state court judge to rely on the
     Applicant Officer’s characterization of the text messages.
             7 In his Objections, Defendant argues that the Magistrate Judge improperly makes

     “inference upon inference” to conclude that the Bouknight Affidavit provided sufficient information
     for a probable cause determination. See Objections at 3. In particular, Defendant contends that
     the Magistrate Judge improperly infers that Graham knew Defendant “from previous dealings




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            In his Objections to the Report, Defendant argues that the Bouknight Affidavit

     lacked sufficient information to establish probable cause because, among other things, it

     failed to connect him to phone number (904) 483-0628. See Objections at 3-4. The

     Court is not persuaded by this argument. The Bouknight Warrant directed T-Mobile to

     release data for a particular phone number, not a particular person, and the information in

     the Bouknight Affidavit sufficiently connected that phone number to a drug transaction with

     Bishop on the day she died—a drug transaction set up by Graham using that cell number

     and then witnessed by Graham to have occurred with Bouknight as the distributor of the

     drugs. As such, the Court finds that the Applicant Officer’s failure to explain exactly how

     he learned that Defendant was the individual associated with phone number (904) 483-

     0628 from September 1, 2018, through September 7, 2018, was not pertinent to the state

     court judge’s probable cause determination. To the extent that Defendant is suggesting

     the government has not adequality proven the connection between Defendant and the

     particular phone number, the Court finds that to be an issue for trial, not an issue that

     would undermine a finding that there was probable cause to believe that a search of the

     records and cell-site data associated with that phone number would lead to evidence of

     the crime being investigated.




     because she contacted him on his cellular phone,” see Report at 16, and that “Graham was
     capable of confirming Defendant’s identity based on her prior personal interaction(s) with him,” id.
     at 16 n. 8. Defendant argues that these inferences were improper because the Bouknight Affidavit
     does not refer to prior personal interactions between Defendant and Graham or indicate “that
     Graham confirmed Mr. Bouknight’s identity as the individual who sold the drugs[.]” See
     Objections at 3. Because the undersigned concludes that the Bouknight Affidavit contains
     sufficient information to support a probable cause determination regardless of whether Graham
     identified Defendant by name or whether Graham had previous dealings with Defendant, the Court
     need not adopt this portion of the Magistrate Judge’s discussion.




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            Defendant also argues that the Bouknight Affidavit was “plagued by so many

     inconsistencies and errors that the issuing judge must have acted arbitrarily in granting the

     search warrant.” Id. at 5; see also Motion to Suppress at 5. In support of this argument,

     Defendant notes that the Applicant Officer incorrectly referred to “Graham’s” data rather

     than Defendant’s data in the last paragraph of the Bouknight Affidavit.             See id.

     Defendant also asserts that the language “forensic search of the Target Telephone

     automated records,” see Bouknight Affidavit at 3, indicated an intent to search the phone’s

     hardware rather than the cell-site data.         See Motion to Suppress at 5.   However, a

     common sense reading of the Bouknight Affidavit shows that the Applicant Officer sought

     the data associated with phone number (904) 483-0628, particularly the cell-site location

     data as well as the record of incoming and outgoing calls and text messages, not a physical

     search of the actual phone. As such, it would have been reasonable for the issuing judge

     to understand that the Bouknight Affidavit’s reference to a “forensic search” was a

     reference to a search of/for data associated with the phone number identified. It is also

     readily apparent from the Bouknight Affidavit that the Applicant Officer believed that phone

     number (904) 483-0628 was associated with Defendant, not Graham, and therefore the

     reference to “Graham’s” toll and cell site data in the last paragraph of the Bouknight

     Affidavit was an inconsequential error. See Bouknight Affidavit at 3. Thus, the Court

     finds that any such inconsistency in the Bouknight Affidavit would not have interfered with

     or undermined the issuing judge’s probable cause determination.8 See generally United

     States v. Glinton, 154 F.3d 1245, 1256 (11th Cir. 1998) (“As has often been stated, minor

     discrepancies in an affidavit should not subvert an officer’s good-faith revelations of facts



            8   Defendant does not suggest that the errors were intentional.




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     establishing probable cause.” (citing Illinois v. Rodriguez, 497 U.S. 177, 184-85 (1990);

     Maryland v. Garrison, 480 U.S. 79, 88 (1987))). In sum, the Court finds that the Bouknight

     Affidavit provided probable cause for the issuance of the Bouknight Warrant.

            B.     Scope of the Search9

            Next, the Court turns to Defendant’s argument that because the last paragraph of

     the Bouknight Warrant directed T-Mobile to release data only for September 6, 2018, the

     search, which resulted in the disclosure of data from September 1st through September

     7th, exceeded the scope authorized by the Bouknight Warrant. At the supplemental

     evidentiary hearing before the undersigned, the Applicant Officer testified that he prepared

     both the Bouknight Affidavit and Warrant, see Evidentiary Hr’g Tr. at 11, 16, the issuing

     judge did not make any changes to the Bouknight Warrant before signing it, id. at 34, and

     the Applicant Officer did not read the Bouknight Warrant after the judge signed it, id. at 35.

     The Applicant Officer testified that after the judge signed the Bouknight Warrant, he

     electronically delivered it to T-Mobile with a preservation of records form. See id. at 35-

     36, 38; Preservation Request at 1. The Preservation Request asked T-Mobile to preserve

     certain records relating to phone number (904) 483-0628 “during the time period

     09/01/2018-09/07/2018[.]”     Id.   The Applicant Officer testified that in drafting the

     Bouknight Affidavit and Warrant, he “intended to receive the data for September 1st

     through September 7th to use in [his] investigation.” Id. at 14. When asked why he typed

     September 6th in the last paragraph of the Bouknight Warrant, the Applicant Officer

     testified that September 6th was a significant date “in [his] head” because that was the


            9 Because the Magistrate Judge did not have the benefit of the Applicant Officer’s
     testimony, the Court will address the parties’ arguments regarding the scope of the Bouknight
     Warrant anew. Accordingly, the Court declines to adopt the portion of the Report pertaining to
     Defendant’s arguments that the search exceeded the scope authorized by the Bouknight Warrant.




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     date on which Bishop died, and he “entered that [date] into the [Bouknight Warrant] in an

     error.” Id. In addition, the Applicant Officer testified that when he sought to obtain the

     Bouknight Warrant for the cell data associated with what he believed to be Defendant’s

     cell phone number, he also sought to obtain a search warrant for the data associated with

     Graham’s cell phone number. See id. at 10-11; Government’s Supplemental Exhibit 2

     (Doc. 48-2; Graham Affidavit and Warrant). The Graham Warrant, signed by the same

     judge on September 22, 2018, ordered Metro PCS to release data from September 1,

     2018, through September 7, 2018. See Evidentiary Hr’g Tr. at 17-19. The Applicant

     Officer testified that he specifically sought data for both phones from September 1st

     through September 7th, because he “wanted to show that there was no communication

     and [Defendant and Graham] were not together prior to September 6th, and they were in

     fact communicating throughout the day on September 6th and were in the same location

     at a certain point in the day on September 6th.” Id. at 10-12, 15, 18-19.

           Having presented the Applicant Officer’s testimony, the government argued that

     even though the last paragraph of the Bouknight Warrant directed T-Mobile to produce

     records only for September 6th, the ultimate search, which included data from September

     1st through September 7th, did not exceed the scope of the Bouknight Warrant.           In

     support of this argument, the government asserted that the Applicant Officer had

     sufficiently articulated a request for data from September 1st through September 7th

     elsewhere in the Bouknight Affidavit and Warrant. See Evidentiary Hr’g Tr. at 39-40. In

     particular, the government noted that the Applicant Officer defined “Historically Stored

     Data” in the Bouknight Warrant to include data from September 1st through September

     7th, and that defined term was included in the decretal portion of the Bouknight Warrant,




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     in which the Court ordered T-Mobile “to release [t]he Historically Stored Data for (904) 483-

     0628 . . . for September 6, 2018.”10 See Evidentiary Hr’g Tr. at 13-14. The government

     maintained that the Applicant Officer’s testimony established that his reference to

     September 6th in the last paragraph of the Bouknight Warrant was simply a mistake that

     should not limit its scope.

            Upon consideration, the Court is not persuaded by the government’s arguments.

     Despite the Applicant Officer’s conflicting use of the term “Historically Stored Data,” the

     Bouknight Warrant ultimately directed T-Mobile to produce data only for September 6th,

     2018. As such, the Court determines that the Applicant Officer exceeded the scope of

     the search authorized by the Bouknight Warrant by requesting and obtaining data from

     September 1st through 5th and September 7th. In reaching this conclusion, the Court is

     persuaded by the analysis of the district court in United States v. Robinson, 358 F. Supp.

     2d 975 (D. Mont. 2005). There, a law enforcement officer prepared a search warrant

     affidavit in support of a warrant authorizing the search of the defendant’s residence and

     vehicle for contraband. See id. at 976. Although the accompanying warrant, also drafted

     by the Applicant Officer, contained a probable cause determination that “evidence of drug

     trafficking crimes exist[ed] ‘in the residence and vehicle more particularly described

     above,’” the decretal portion of the warrant did not include a reference to the residence

     and authorized a search of the vehicle only.              Id. at 976-77.      Nevertheless, law

     enforcement officers ultimately searched the defendant’s residence and vehicle. The

     district court suppressed the evidence seized from the residence, finding that the search

     exceeded the scope of the warrant. In doing so, the court stated that


            10 In the Bouknight Affidavit, the Applicant Officer used the same description to define the
     term “Target data.” See Bouknight Affidavit at 2.




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                    given the Constitution’s requirement that law enforcement
                    officers executing a search warrant remain within the strict
                    bounds of the warrant, the Court must refrain from relying on
                    the approving judge’s apparent intent to expand the scope of
                    the warrant. The government is correct that in certain
                    instances mistakes in warrants can be overlooked by a
                    reviewing Court. Such cases typically involve minor errors in
                    the description of the place to be searched or the items to be
                    seized. In those cases, there is no doubt about the intent of
                    the judge issuing the warrant. In this case, in which there is
                    not a mistaken description but a complete omission, some
                    doubt remains as to the intent of the issuing judge. There is
                    no authority empowering a reviewing court to find through
                    divination that the issuing judge meant to authorize the search
                    of a residence where the warrant on its face fails to authorize
                    such a search. The failure to command a search of the
                    residence was almost certainly a mistake, but not one for this
                    Court to correct.

     Id. at 977. Similar to the warrant in Robinson, although the Bouknight Warrant includes

     a probable cause finding for the “Historically Stored Data” defined as the data from

     September 1st through September 7th, the Bouknight Warrant ultimately directed T-Mobile

     to release data only for September 6th, the date of the drug transaction and Bishop’s

     death. In order to conclude that the search in this case did not exceed the scope of the

     Bouknight Warrant, the Court would have to assume that the issuing judge intended to

     authorize the release of all data sought in the Bouknight Affidavit and that she failed to

     notice that the Bouknight Warrant authorized data for September 6th only. Certainly that

     is possible. However, it is also possible that the judge did read the Bouknight Warrant

     and determined that the search should be limited to September 6th – the date of the

     victim’s death. 11   Without hearing from the issuing judge, the Court has no basis to


            11 In support of its argument that “[t]he Court should consider [the date] discrepancy to be
     a scriveners error that does not render the warrant invalid,” the government cites to United States
     v. Snyder, 471 F. App’x 884, 885-86 (11th Cir. 2012). See Response to Objections at 2-3.
     However, the Court finds Snyder to be readily distinguishable from the instant case. In Snyder, a
     law enforcement officer completed an affidavit in support of a search warrant for Snyder’s




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     conclude that she meant something other than what the warrant she signed actually

     stated.12 Thus, by seeking and obtaining historical data from September 1st through 5th

     and the 7th, law enforcement exceeded the scope of the search authorized by the

     Bouknight Warrant.

            Having concluded that the search exceeded the scope authorized by the Bouknight

     Warrant, the Court must now address Defendant’s contention that the exclusionary rule

     requires suppression of the evidence obtained by law enforcement. Although the Fourth




     residence. The affidavit stated that a confidential informant “had observed personally a black
     male known as ‘Black’ in possession of drugs packaged for sale at Black’s home at ‘1942 Queen
     City Avenue.’ The affidavit then contained detailed directions to ‘1924 Queen City Avenue,’
     describing the residence as a white two-story house with black trim and with the numbers ‘1924’
     on the right side of the front door. Based on [the] affidavit, a search warrant issued authorizing a
     search of 1924 Queen City Avenue,” which was Snyder’s residence. Id. at 885. In affirming the
     district court’s “determination that the affidavit’s singular reference to ‘1942 Queen City Avenue’
     was a typographical error,” the Eleventh Circuit held that “[a]lthough the affidavit mentioned ‘1942
     Queen City Avenue’ once, it provided detailed directions to 1924 Queen City Avenue and provided
     a clear description of that house, including that it had the number ‘1924’ by the front door.” Id.
     The government’s reliance on Snyder is unavailing. Preliminarily, the Court observes that the
     error in Snyder was in the initial description of the residence in the affidavit, not in the description
     of the premises to be searched set forth in the warrant. Thus, the search conducted was
     authorized by the warrant. Despite the transposed number in the first identification of the address,
     the remainder of the affidavit and warrant clearly identified the premises to be searched and that
     was the premises law enforcement actually searched. Such is not the case here. Additionally,
     even assuming the reference to September 6th was a mistake on the Applicant Officer’s part in
     preparing the proposed warrant, that does not necessarily mean that Judge Senterfitt intended to
     authorize the release of all data from September 1st through September 7th, when she signed a
     warrant authorizing only the release of data for September 6th.
              12 The Court has considered whether the judge’s issuance of the Graham Warrant, in which

     she authorized the release of Graham’s cell data for September 1st through September 7th, on the
     same day as she issued the Bouknight Warrant shows that she actually intended to authorize the
     release of Defendant’s cell data for the same period. Ultimately, however, the Court concludes
     that the Graham Warrant does not conclusively establish the judge’s intent with regard to the
     Bouknight Warrant. Indeed, it is equally possible that the judge intended to limit both searches to
     September 6th but overlooked the reference to the extended date range in the Graham Warrant
     rather than the date in the Bouknight Warrant. Afterall, it would not be unreasonable for the judge
     to narrow the search to include data only for the date of the drug transaction and the victim’s death.
     It is also possible that the issuing judge found it reasonable for law enforcement to obtain a broader
     period of data for Graham, who was cooperating, but limited the data regarding Defendant to the
     day of the alleged crime. If the issuing judge intended something other than what is written in the
     warrant that she signed, on this record, the Court cannot divine what it was that she intended.




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     Amendment protects “against unreasonable searches and seizers,” see U.S. Const.

     amend. IV, it “contains no provision expressly precluding the use of evidence obtained in

     violation of its commands . . . .”    United States v. Leon, 468 U.S. 897, 906 (1984).

     Instead, the judicially created exclusionary rule, “when applicable, forbids the use of

     improperly obtained evidence at trial.” Herring v. United States, 555 U.S. 135, 139 (2009).

     “[T]he rule’s prime purpose is to deter future unlawful police conduct and thereby effectuate

     the guarantee of the Fourth Amendment against unreasonable searches and seizures:

     ‘The rule is calculated to prevent, not to repair. Its purpose is to deter—to compel respect

     for the constitutional guaranty in the only effectively available way—by removing the

     incentive to disregard it.’” United States v. Calandra, 414 U.S. 338, 347 (1974) (quoting

     Elkins v United States, 364 U.S. 206, 217 (1960)). Significantly, “[t]he fact that a Fourth

     Amendment violation occurred—i.e., that a search or arrest was unreasonable—does not

     necessarily mean that the exclusionary rule applies.” Herring v. United States, 555 U.S.

     135, 140 (2009) (Herring II) (citing Illinois v. Gates, 462 U.S. 213, 223 (1983)). See also

     Leon, 468 U.S. at 906 (“Whether the exclusionary sanction is appropriately imposed in a

     particular case, . . . is an issue separate from the question whether the Fourth Amendment

     rights of the party seeking to invoke the rule were violated by police conduct.” (internal

     quotation marks and citations omitted)).     Instead, “three conditions [ ] must occur to

     warrant application of the exclusionary rule. First, there must be misconduct by the police

     or by adjuncts to the law enforcement team. Second, application of the rule must result

     in appreciable deterrence of that misconduct. Finally, the benefits of the rule’s application

     must not outweigh its costs.” United States v. Herring, 492 F.3d 1212, 1217 (11th Cir.

     2007) (Herring I) (citing Leon, 468 U.S. at 909-17). Notably, “[t]he pertinent analysis of




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     deterrence and culpability is objective, not an inquiry into the subjective awareness of [the]

     officers[.]” Herring II, 555 U.S. at 145 (internal quotation marks and citations omitted).

            Applying the principles set forth above, the Court finds that application of the

     exclusionary rule is warranted in this case. Regarding the first condition, that there must

     be misconduct by the police or by adjuncts to the law enforcement team, the conduct at

     issue here is the failure to read the Bouknight Warrant after the issuing judge signed it.

     There is no dispute that this failure is attributable to a police officer, as opposed to a judicial

     officer. Although there is nothing in the record to suggest that the Applicant Officer’s

     failure to read the Bouknight Warrant before sending it to T-Mobile was intentional

     misconduct, the Court finds that it was at least reckless. Notably, if the Applicant Officer

     had read the Bouknight Warrant again after receiving it from the judge, he would have

     realized his apparent drafting mistake, and he could have presented it to the issuing judge

     to determine whether she actually intended to limit the search to September 6th as stated

     in the Bouknight Warrant. What the government seems to suggest is that the failure to

     read the warrant was of no consequence because having drafted the Bouknight Affidavit

     and Warrant, as well as the Graham Affidavit and Warrant, the Applicant Officer knew what

     data he intended to obtain. But what matters is not what the officer sought to obtain or

     even what he intended to obtain, but rather what matters is what the judicial officer

     authorized him to obtain. If the Applicant Officer had testified that he read the Bouknight

     Warrant, noticed that it was limited to September 6th, but decided to proceed to collect

     data for the entire period of September 1st through September 7th because that was what

     he sought in the Bouknight Affidavit, the government would have been hard pressed to

     find a basis to defend a knowing disregard of the actual language of the Bouknight




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     Warrant. It can fare no better, by relying on a failure to read the Bouknight Warrant at all.

     Thus, the Court finds that the first condition is present in this case.

            Turning to the second condition, the Court finds that application of the exclusionary

     rule in this case likely would result in appreciable deterrence of future, similar misconduct.

     The Court is cognizant of the Eleventh Circuit’s caution in Herring I that “[d]eterrents work

     best where the targeted conduct results from conscious decision making, because only if

     the decision maker considers the possible results of [his] actions can [he] be deterred.”

     See Herring I, 492 F.3d at 1218. However, the Court finds the behavior to be deterred in

     this case is easily distinguishable from that at issue in Herring I where the Eleventh Circuit

     held that exclusion of evidence resulting from negligent record keeping was unlikely to

     reduce any future negligence, because, among other things, the negligent conduct was

     committed by officers of a different department in another county. See id. Here, the

     failure, while likely not actively intentional, was entirely and conspicuously within the

     control of the Applicant Officer. The Court is of the view that exclusion of the data not

     explicitly authorized by the Bouknight Warrant under these circumstances will significantly

     deter the Applicant Officer and others from failing to read a warrant before executing it.

            As for the third condition, the Court determines that the deterrence resulting from

     the application of the exclusionary rule in this case will outweigh the cost of excluding the

     data not authorized by the warrant—data from September 1st through 5th and the 7th. In

     this regard the Court notes that the government stated at the supplemental evidentiary

     hearing that it did not intend to use data from September 1st through 5th or the 7th at trial.

     See Evidentiary Hr’g Tr. at 4-5, 36-37. In response to the Court’s inquiries about its plans

     for the evidence, the government represented as follows:




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                       THE COURT:          Ms. Hackenberry [counsel for the
                government], does the United States intend to use in any way
                or reference in any way any data obtained from . . . September
                1st through the 5th, whether it’s to say there had been no
                communication or anything like that . . . in the trial of this case?

                       MS. HACKENBERRY:          No, Your Honor.                 The
                relevant date will be the September 6th date.

                      THE COURT:           And     did     the    absence    of
                communications or the absence of the two phones being in
                proximity of one another play any role in the investigation?

                       MS. HACKENBERRY:             Not - - really. I mean, it was
                the September 6th date that was of importance to us, that those
                phones were in the vicinity of one another, which corroborated
                what the cooperating individual, . . . the other phone’s user told
                us.

                ...

                       THE COURT:            Going back to where we started at
                the beginning of the hearing, Ms. Hackenberry, you got up and
                . . . questioned whether we needed to proceed with the
                evidentiary presentation because the Government was only
                using - - intended to rely on the September 6th data.

                      Now, Mr. Korody [defense counsel] disagreed with that
                because his argument based on Sotto is this flagrant disregard
                argument.

                But setting that aside, by saying that, were you suggesting that
                the Court didn’t need to hear evidence because the Court could
                simply suppress the September 1 through September 5, and
                September 7th [data], and that would be the end of the issue?

                        MS. HACKENBERRY:                 Potentially, Your Honor. I
                mean, if that’s - - if that’s what - - I don’t think that would be the
                right thing to do. I don’t think that’s - - I think we’ve argued
                for why that shouldn’t be done. But the September 6th date is
                the most relevant date to us.

                       So, I mean if that were to happen, I don’t - - I mean, I
                guess that would - - I mean, the Government would be able to
                go proceed without case and put on our evidence, but I don’t -
                - I don’t think that legally is the right thing to do given all the
                reasons that we’ve already argued.




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     Id. at 36-37, 43-44. Thus, it appears that data from September 1st through 5th and the

     7th is not essential to the government’s case.       Accordingly, the Court finds that the

     deterrent value achieved here by applying the exclusionary rule outweighs the low social

     cost of exclusion.   Because all of the conditions identified by the Eleventh Circuit in

     Herring I are present in this case, the Court finds that exclusion of data not explicitly

     authorized by the Bouknight Warrant is appropriate in this case.13

            The Court turns next to Defendant’s argument that suppression of data from

     September 6th is also warranted because law enforcement flagrantly disregarded the

     scope of the Bouknight Warrant. In general, when a search exceeds the scope of a

     warrant, “[o]nly the evidence seized while police are acting outside of the boundaries of

     the warrant is subject to suppression.” United States v. Hendrixson, 234 F.3d 494, 497

     (11th Cir. 2000).    Total suppression, including of evidence properly seized, “may be

     appropriate if the executing officers’ conduct exceeds any reasonable interpretation of the

     warrant’s provisions.” United States v. Wuagneux, 683 F.2d 1343, 1354 (11th Cir. 1982)

     (citations omitted). However, “[a]bsent a flagrant disregard of the terms of a warrant,

     seizure of items outside the scope of the warrant does not affect admissibility of items

     properly seized . . . .” United States v. Lambert, 887 F.2d 1568, 1572 (11th Cir. 1989)

     (citations omitted). Here, the Court finds that Defendant has made no showing to justify

     suppression of data from September 6th. Indeed, the Bouknight Warrant specifically

     ordered T-Mobile to release data from September 6th. Moreover, although the Applicant

     Officer erred in failing to read the Bouknight Warrant after the judge signed it, nothing in

     the record suggests that he did so with a deliberate intention to disregard the intended


            13
             The government concedes that the good faith exception would not be applicable in this
     case. See Response to Motion to Suppress at 6-7.




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     scope of the Bouknight Warrant. Rather, his failure to read the Bouknight Warrant again

     after the judge signed it is consistent with his testimony that when he drafted the Bouknight

     Warrant, he believed that he had requested data from September 1st through September

     7th. Because the judge did not make any changes to the Bouknight Warrant, it appears

     that the Applicant Officer simply thought he was authorized to obtain all data from

     September 1st through September 7th. Thus, the Applicant Officer did not flagrantly

     disregard the Bouknight Warrant by failing to read the Bouknight Warrant again after the

     judge signed it, as he believed, albeit mistakenly, that he already knew what the Bouknight

     Warrant said. As such, Defendant’s request for a blanket suppression of all the data

     obtained from T-Mobile, including data from September 6th, based on the Applicant

     Officer’s alleged fragrant disregard of the Bouknight Warrant is due to be denied.14

            Accordingly, it is

            ORDERED:

            1.     Defendant’s Objections to Magistrate Judge’s Report and Recommendation

     to Deny Defendant’s Motion to Suppress Historically Stored Data (Doc. 40) are

     OVERRULED in part and SUSTAINED in part only as stated herein.


            14  The Court also notes that the inevitable discovery doctrine would apply to incoming and
     outgoing calls and text messages from September 6th. Under the doctrine of inevitable discovery,
     notwithstanding an illegal search, “if the prosecution can establish by a preponderance of the
     evidence that the information would have ultimately been recovered by lawful means, the evidence
     will be admissible.” United States v. Virden, 488 F.3d 1317, 1322 (11th Cir. 2007) (citing Nix v.
     Williams, 467 U.S. 431, 434 (1984)). For the doctrine to apply, the prosecution must also show
     that “the lawful means which made discovery inevitable were being actively pursued prior to the
     occurrence of the illegal conduct.” Id. (quotation marks and citation omitted) (emphasis in
     original). Here, the Applicant Officer obtained a warrant for Graham’s cell phone data the same
     day he obtained the Bouknight Warrant for Defendant’s data. See Evidentiary Hr’g Tr. at 17-19.
     The Graham Warrant inevitably would have led the Applicant Officer to discover any calls or texts
     messages between Defendant and Graham on September 6, 2018. As the Applicant Officer
     testified at the evidentiary hearing, if he had only received data for September 6th for Graham’s
     phone number, he still would have been able to determine whether Defendant and Graham
     communicated on September 6th. See Evidentiary Hr’g Tr. at 20-21.




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           2.     The Report & Recommendation (Doc. 39) is ADOPTED in part only as

     stated herein.

           3.     Defendant’s Motion to Suppress Historically Stored Data (Doc. 25) is

     GRANTED in part and DENIED in part as stated herein.

                  a.     The Motion to Suppress is GRANTED to the extent Defendant seeks

     suppression of data from September 1st through 5th and the 7th.

                  b.     The Motion to Suppress is DENIED to the extent that Defendant seeks

     suppression of data from September 6th.

           DONE AND ORDERED in Jacksonville, Florida on June 15, 2020.




     Lc23
     Copies to:

     Counsel of Record




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